Case 2:04-cr-20183-SH|\/| Document 169 Filed 07/22/05 Page 1 of 3 Page|D 195

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-20183-D

LISA SUE TERRY
Defendant.

 

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AND SETTING

 

This cause came to be heard on July 21, 2005, the United States
Attorney for this district, Scott F. Leary, appearing for the Government and
the defendant, Lisa Sue Terry, appearing in person and with counsel,
Eric Scott Hall, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 2 of the
Indictment.

Count 1 shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for FRIDAY, OCTOBER 21, 2005. at
1230 P.M., in Courtrocm Nb. 3, on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the g,é'_ day of July, 2005.

 

   

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"h Rule 55 and!or 32(b) FRCrP on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 169 in
case 2:04-CR-20183 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

